                                                  Case 2:21-cv-00449-DJH Document 21 Filed 07/07/21 Page 1 of 2



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                                          7                                                UNITED STATES DISTRICT COURT
                                          8                                                          DISTRICT OF ARIZONA
                                          9   Raymond A. Ortega,                                                 No. 2:21-cv-00449-DJH
201 East Washington Street, Suite 1200




                                         10                                 Plaintiff,                           STIPULATION FOR DISMISSAL
                                                                                                                 WITH PREJUDICE
                                         11               v.
                                         12   The Airport and Aviation Professionals,
                                              Inc. Group Disability Plan, an ERISA
                                         13   benefit plan; Unum Life Insurance
Phoenix, AZ 85004




                                              Company of America, a plan fiduciary; and
                                         14   Airport and Aviation Professionals, Inc., a
                                              plan administrator,
                                         15
                                                                            Defendants.
                                         16
                                         17               The parties have resolved this matter. 1 They stipulate pursuant to Fed. R. Civ. P.
                                         18   41(a)(1)(A)(ii) that this lawsuit may be dismissed with prejudice, each party to bear their
                                         19   own costs and attorneys’ fees.
                                         20               DATED this 7th day of July, 2021.
                                         21   RONSTADT LAW, PLLC                                          LEWIS ROCA ROTHGERBER CHRISTIE LLP
                                         22
                                              By: /s/ Erin R. Ronstadt (with                               By: /s/ Stephen M. Bressler
                                         23   permission)                                                         Stephen M. Bressler
                                                     Erin R. Ronstadt                                             Nicole G. True
                                         24          Kyle Shelton                                          Attorneys for Unum Life Insurance Company of
                                              Attorneys for Plaintiff                                      America
                                         25
                                         26
                                         27   1
                                               Plaintiff previously dismissed Defendants The Airport and Aviation Professionals, Inc.
                                              Group Disability Plan and Airport and Aviation Professionals, Inc. Doc. 11.
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                                          1                                 CERTIFICATE OF SERVICE
                                          2         I certify that on this 7th day of July, 2021, I electronically transmitted the attached
                                              document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
                                          3   Notice of Electronic Filing to the following CM/ECF registrants:
                                          4       •    Erin R. Ronstadt, erin@ronstadtlaw.com
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